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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA
V.
GORDON ERNST,

Defendant.

Case No. 1:19-cr-10081-IT

 

 

DEFENDANT GORDON ERNST’S
WAIVER OF APPEARANCE FOR ARRAIGNMENT

Pursuant to Federal Rule of Criminal Procedure 10(b) and the Court’s Order of October

29, 2019 (Dkt. No. 279), Defendant Gordon Ernst hereby waives his right to appear in court for

arraignment on the Superseding Indictment in the above-captioned matter. Defendant and his

counsel affirm that Mr. Ernst has received a copy of the Superseding Indictment and that Mr.

Ernst pleads not guilty.

Therefore, Mr. Ernst respectfully asks the court to accept this waiver and enter a plea of

not guilty in his absence.

Dated: October Bo. , 2019

Laer

Gordon Ernst

Respectfully submitted,
GORDON ERNST
By his attorneys,

/s/ Tracy A. Miner

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing document was served by email on counsel for the
Government on November 4, 2019.

/s/ Seth B. Orkand
Seth B. Orkand
